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                             UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Caption:
Frances Jean-Louis
______________________________                                            COMPLAINT
424 East Roosevelt Boulevard
______________________________                                            FOR EMPLOYMENT
Philadelphia, PA 19120
______________________________                                            DISCRIMINATION
Full name(s) of Plaintiff(s)

v.                                                                        CIVIL ACTION
                                                                          NO.__________
Comcast Cable Communication
______________________________
______________________________
Management LLC
______________________________
Full name(s) of Defendant(s)

This action is brought for discrimination in employment pursuant to (check only those that apply):

          X
          ____      Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. '' 2000e to
                    2000e-17 (race, color, gender, religion, national origin).
                    NOTE: In order to bring suit in federal district court under Title VII, you must first
                    obtain a Notice of Right to Sue Letter from the Equal Employment Opportunity
                    Commission.

          ____      Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. ''
                    621-634.
                    NOTE: In order to bring suit in federal district court under the Age Discrimination
                    in Employment Act, you must first file a charge with the Equal Employment
                    Opportunity Commission, and you must have been at least 40 years old at the time
                    you believe that you were discriminated against.

          ____      Americans with Disability Act of 1990, as codified, 42 U.S.C. '' 12112-12117.
                    NOTE: In order to bring suit in federal district court under the Americans with
                    Disabilities Act, you must first obtain a Notice of Right to Sue Letter from the Equal
                    Employment Opportunity Commission.

          X
          ____      Pennsylvania Human Relations Act, as codified, 43 Pa. Cons. Stat. '' 951-963
                    (race, color, family status, religious creed, ancestry, handicap or disability, age,
                    sex, national origin, the use of a guide or support animal because of blindness,
                    deafness or physical handicap of the user or because the user is a handler or trainer
                    of support or guide animals).


(Rev. 10/2009)




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               NOTE: In order to bring suit in federal district court under the Pennsylvania
               Human Relations Act, you must first file a complaint with the Pennsylvania Human
               Relations Commission or the Philadelphia Commission on Human Relations, and
               then you must wait one year prior to filing a lawsuit.


I.      Parties in this complaint:

A.      List your name, address and telephone number. Do the same for any additional plaintiffs
        named. Attach additional sheets of paper as necessary.

Plaintiff             Frances Jean-Louis
               Name:____________________________________________________________
                               424 East Roosevelt Boulevard
               Street Address:_____________________________________________________
                             Philadelphia
               County, City:_______________________________________________________
                            PA 19120
               State & Zip:________________________________________________________
                                    2154218688
               Telephone Number:_________________________________________________

B.      List all defendants= names and the address where each defendant may be served. Make
        sure that the defendant(s) listed below are identical to those contained in the caption on the
        first page. Attach additional sheets of paper as necessary.
                           Comcast Cable Communication
Defendant                 Management LLC
               Name:____________________________________________________________
               Street Address:_____________________________________________________
                            Philadelphia
               County, City:_______________________________________________________
                           PA 19102
               State & Zip:________________________________________________________
               Telephone Number:_________________________________________________

C.      The address at which I sought employment or was employed by the defendant(s) is:

                         Comcast Cable Communication
               Employer:_________________________________________________________
               Street Address:_____________________________________________________
                                                     700 Dresher Road

               County, City:_______________________________________________________
                                           Horsham
               State & Zip:________________________________________________________
                                         PA 19044
                                  610-234-3384
               Telephone Number:_________________________________________________

II.     Statement of the Claim

A.      The discriminatory conduct of which I complain in this action includes (check only those
        that apply to your case):

        ____   Failure to hire me
        X
        ____   Termination of my employment
        X
        ____   Failure to promote me


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       ____   Failure to reasonably accommodate my disability
       ____   Failure to reasonably accommodate my religion
       X
       ____   Failure to stop harassment
       ____   Unequal terms and conditions of my employment
       X
       ____ Retaliation
       X
       ____                   Stalking
              Other (specify):_____________________________________________________

NOTE: Only those grounds raised in the charge filed with the Equal Employment Opportunity
Commission can be considered by the federal district court.


B.     It is my best recollection that the alleged discriminatory acts occurred or began on or about:
                July
       (month)__________,                              2014
                               (day)________, (year)________.

C.     I believe that the defendant(s) (check one):

       X
       ____ is still committing these acts against me.
       ____ is not still committing these acts against me.

D.     Defendant(s) discriminated against me based on my (check only those that apply and state
       the basis for discrimination, for example, what is your religion, if religious discrimination
       is alleged):

       X
       ____   race _______________                    ____   color ________________
       ____   religion ____________                   X
                                                      ____   gender/sex ____________
       ____   national origin ________________
       ____   age     My date of birth is ___________ (Give your date of birth only if you are
                      asserting a claim of age discrimination)

E.     The facts of my case are as follow (attach additional sheets of paper as necessary):

Please view Amended Agreement that was presented to Jams
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


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       NOTE: As additional support for the facts of your claim, you may attach to this complaint
       a copy of your charge filed with the Equal Employment Opportunity Commission, the
       Pennsylvania Human Relations Commission, or the Philadelphia Commission on Human
       Relations.

III.   Exhaustion of Administrative Remedies:

A.     It is my best recollection that I filed a charge with the Equal Employment Opportunity
       Commission or my Equal Employment Opportunity counselor regarding the defendant=s
                                              January 15,2016
       alleged discriminatory conduct on: ________________________         (Date).

B.     The Equal Employment Opportunity Commission (check one):

       ____   has not issued a Notice of Right to Sue Letter.
       X
       ____                                                               April 28, 2016
              issued a Notice of Right to Sue Letter, which I received on ____________(Date).

       NOTE: Attach to this complaint a copy of the Notice of Right to Sue Letter from the Equal
       Employment Opportunity Commission.

C.     Only plaintiffs alleging age discrimination must answer this question.

       Since filing my charge of age discrimination with the Equal Employment Opportunity
       Commission regarding defendant=s alleged discriminatory conduct (check one):

       ____ 60 days or more have passed.
       ____ fewer than 60 days have passed.

D.     It is my best recollection that I filed a charge with the Pennsylvania Human Relations
       Commission or the Philadelphia Commission on Human Relations regarding the
                                                          Case no. 201605604
       defendant=s alleged discriminatory conduct on: ________________________       (Date).

E.     Since filing my charge of discrimination with the Pennsylvania Human Relations
       Commission or the Philadelphia Commission on Human Relations regarding the
       defendant=s alleged discriminatory conduct (check one):

       X
       ____   One year or more has passed.
       ____   Less than one year has passed.




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IV.    Relief

WHEREFORE, Plaintiff prays that the Court grant such relief as may be appropriate, including
injunctive orders, damages, and costs as well as (check only those that apply):

       ____     Direct the defendant to hire the plaintiff.
       ____     Direct the defendant to re-employ the plaintiff.
       ____     Direct the defendant to promote the plaintiff.
       ____     Direct the defendant to reasonably accommodate the plaintiff=s disabilities.
       ____     Direct the defendant to reasonably accommodate the plaintiff=s religion.
       ____     Direct the defendant to (specify):_______________________________________
       X
       ____     If available, grant the plaintiff appropriate injunctive relief, lost wages,
                liquidated/double damages, front pay, compensatory damages, punitive damages,
                prejudgment interest, post-judgment interest, and costs, including reasonable
                attorney fees and expert witness fees.
       X
       ____                     Cease all respondents' agents,employees, or contractors from making contact w/ use
                Other (specify):_____________________________________________________
                                  of its telecommunication networks.


I declare under penalty of perjury that the foregoing is true and correct.

            18 day of ___________,
Signed this __        August         20
                                   20__.

                                Signature of Plaintiff ____________________________________
                                Address                ____________________________________
                                                       424 East Roosevelt Boulevard
                                                       ____________________________________
                                                       Philadelphia, PA 19120
                                                       ____________________________________
                                                       ____________________________________
                                                       215-421-8688
                                Telephone number ____________________________________
                                Fax number (if you have one) _____________________________




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      Frances Jean-Louis

                     Claimant,

              v.

      Comcast Cable Communication                     Civil Action. No. 16-3961
      Management LLC,

                     Respondent



                       Re: Request for District Court to Overturn Jams Award



         A request to overturn an arbitrator’s final award is being requested in part due to inherent bias
toward the respondent’s in handling arbitration breech throughout the arbitration. This case was to be
presented in Judicial District Court when the Respondent’s legal team apprised the Court of the
arbitration waiver the Claimant signed on date of hire. Every new hire was bound to this arbitration
clause. On February 5, 2021, Jams sent Comcast an invoice ahead of scheduled preliminary hearing with
instructions that this invoice amount had to be paid before proceeding into the hearing. On the day of the
hearing on April 26, 2021, after closing arguments, the arbitrator, Jerry P. Roscoe, said two crucial
statements, one, the Claimant had failed to prove its claim and secondly, reminded the legal team of the
Respondent to make a payment.

         A month after, May 25, 2021, Jerry P. Roscoe, alerted the parties that a decision was ready with a
transcript, but the decision could not be released until the final invoice had been paid. The same day the
Claimant, sent a Motion to move this arbitration to District Court citing, In Cien v. Barna (2012)206 Cal.
App. 4th 1383, a failure of nonpayment waived the right to arbitrate. “We humbly request that this
consideration is given ahead of any decisions that would prevent the matter being looked at because of
lack of jurisdiction” A week later, a Petition and Motion was sent to all parties requested to move the
hearing to District Court and that all evidence be preserved without prejudiced.

         A full three weeks went by before a payment was received into Jams and a final award was given
to the Respondent. We are humbly requesting that the District Court overturn the final award and
recognize the arbitration breech through the two Motions and Petition filed into Jams with proof of
service to the other parties. Jerry P. Roscoe failed to acknowledge an Amended Complaint that reflected
new rule changes in Title VII made in 2013 in regards to cyberbullying and stalking in the hearing and
final decisions. Jerry P. Roscoe had a duty to eliminate any inherent bias by not allowing the Respondent
to proceed without payment. Jerry P. Roscoe should have acknowledged the petition and motion and
move this case to District Court to avoid any bias. Since, it was the Respondent’s iron clad arbitration
clause that facilitated Jams proceedings and abrupt removal from District Court on February 24, 2017.
This case would have been finalized years ago in a District Court before the pandemic.
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Respectfully submitted this 18th day of August 2021,



Frances Jean-Louis


Frances Jean-Louis
PRO SE
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                                      JAMS ARBITRATION

        Frances Jean-Louis

                     Claimant,

              v.

        Comcast Cable Communication               JAMS Reference No. 1450005578
        Management LLC,

                      Respondent



                                     AMENDED COMPLAINT

   I.        JURISDICTION


             1.    This action is brought pursuant to Title VII of the Civil Rights Act of 1964,

as amended 1991, 42 U.SC. § 2000e, et seq.; the Civil Rights Act of 1866, 42 U.S.C. § 1981,

as amended 1991, pursuant to 28 U.SC. § 1331. Additionally, Duties to Employers and

Employees under Occupational Safety and Health Administration, OSHA, of 1970, 29 U.S.

as amended 2013, Code § 654. Claimant’s claim under the Pennsylvania Human Relation

Act, 43 Pa. Cons.Stat.Ann § 951 et seq, as amended 1991, and Pennsylvania’s Wage

Payment Collection law, 43 P.S. § 260.1 et seq. are before JAMS pursuant to supplemental

jurisdiction, 28 U.S.C. § 1367. The amount in controversy, exclusive of interest and costs,

exceeds $150,000.

             2.    Claimant filed her EEOC charge at Docket No. 530-2016-01093 on or about

February 20, 2016, which was dual filed with the Pennsylvania Human Relation

Commission. On or about April 28, 2016, the EEOC issued the Claimant a Right to Sue
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Letter. On or about April 3, 2017, Charlene A. Barker, of Obermayer Rebmann Maxwell

& Hippel, LLP apprises Court and Claimant of Arbitration clause on date of hire, May 12,

2014. Henceforth, the docket is removed from Court.



   II.     PARTIES


           3. Claimant Frances Jean-Louis is an adult black female residing at 424 East

Roosevelt Boulevard, Philadelphia, 19120. At all times relevant to this action, she was

employed by Respondent.

           4. Respondent Comcast Corporation named as Comcast Cable Communication

Management LLC in the complaint is an employer doing business as700 Dresher Road, PA

Respondent is an employer within the meaning of the applicable legislation cited herein.

   III.    FACTS


           5. Claimant began working for Respondent on or around May 12, 2014 as

Technician support for business customers. Claimant was in training class to learn Comcast

Business products and services .Live calls were observed for introduction greetings, closing,

greetings, and business products entries and requests. Emphasis was placed on accuracy of

customer requests, product entries into database, and pricing. Call length, a metric of

Respondent was not observed in training class. Accuracy and resolving calls on the first calls

took precedence over all else.
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            6. After training class Claimant is separated from the training class, she is placed

on the calling center floor. After a few weeks there are no complaints of accuracy or

incorrect pricing. After two months on the floor, Claimant is referred to by senior

management as the ‘Lolita of Comcast.’ Claimant is left entirely on her own, supervisor

requests and response time is exceeds 15 to 20 minutes. This time exceeds the call length

metric of the Respondent. During this short period of time on the floor, other call center

operators began repeating what management was telling them, that the Claimant will be

gone. The supervisor before Ray Hiscott is abruptly on leave. The pattern of behavior of

management of slow to respond to supervisor request continues. Several calls lasted over 30

minutes which exceeds Respondent’s metrics. Male techs from the Claimant’s training class

were being told to get off the phone and given techniques to achieve Respondent’s metrics.

After 90 days, true to what management was telling others on the floor, the Claimant is

placed on a performance improvement plan, under supervisor Ray Hiscott.




            7. After a quarter, the Claimant is placed under team lead, Joseph Tepper .where

she is the only one on her team and on the entire floor on day of question written-up for

calling a customer back. Management makes an announcement to the entire floor that there

are entirely too many outbound calls made for a calling center. The write-up is never reduced

to a warning since the entire calling center was doing it. The Claimant is not removed from

the PIP despite changing metrics from Respondent. As a consequence the Claimant is moved

to night shift.
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           8. Claimant writes to HR to high-light the discrepancy in salary pay versus

expected salary pay on date of hire. The Respondent has changed its metrics twice; thereby,

having the Claimant do more for less in less time. Claimant is told that the salary

expectation given on date of hire is based on performance.




           9. Claimant is placed under team lead, Kate Colson. Claimant is given voice

training to create, delete, modify phone lines. Claimant is not taken off the PIP during this

time, but it is extended. Claimant is told she could use personal cell phone to test phone lines

in training class and does so on the calling center floor. In a routine test, Claimant test a

phone line for customer to see calls can get through. Once the error is resolved, someone at

Respondent’s location calls Claimant on her person cell phone while on the floor. The

comments made after the fact, is that the Claimant shouldn’t have used the her cell phone. It

is now apparent to Claimant that her cell phone is being monitored by Respondent in

addition to the desktop phone In addition, exception reports were not submitted under Kate

Colson that would allow Claimant to test phone lines as part of her job although requested

each and every time there was a reason for not taking calls. Other voice-trained techs, males,

on the team had their requests approved. Claimant, at this point, is resolving connectivity

issues, upgrading T.V. packages, upgrading faster internet speeds, submitting title tax

exempt requests for universities, and resolving phone issues. Claimant is still on the

performance improvement plan with higher metric change.
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           10. Claimant is at a Cherry Hill LA Fitness Gym and is recorded in the Sauna.

This video clip goes viral on the calling center floor. Respondent’s management team has

failed to block or filter this video clip from being viewed by more people on the calling

center floor.

           11. On or around August 2015, Claimant sells personal Respondent’s shares to

pay for expenses. The transaction takes place away from the Respondent’s location. The next

day, Call Centers Managers are aware of the transaction. They talk freely about the matter

regardless of anyone paying attention to their communications.

           12. Claimant is placed under team lead, Andrew Berry. Claimant observes two

things Andrew Berry does not respond to any or all supervisor request escalation calls and

Andrew Berry does not put in an exception report (time Claimant needs to resolve phone

issues off the phone). These calls are Respondent’s business customers demanding to speak

with a supervisor despite all attempts to explain or rectify the call. This was confirmed by

Respondent’s assigned mentor, Jeff , that worked with Claimant. Once again, call time

exceeds 30 minutes the minimum is now eight minutes. In addition, personal paid time off

from work are not timely approved. Claimant’s personal paid time are submitted one hour

block of time off on Fridays. This gives Claimant’s an opportunity to destress with high

inflammatory escalations calls which are too routine to ignore. Every Friday, Claimant can

expect to deal with supervisor’s request calls to skew metrics. Claimant has now created or

modified Domino’s Pizza phone lines, other various pizza places and multiple business units

phone lines with success. In addition with other; aforementioned, job tasks. Claimant is not
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removed from the PIP.

            13. Despite Claimant’s performance, Respondent’s continued to have Claimant

on a performance improvement plan.

            14. Similarly situated coworkers did not work as long to complete all task

assigned.

            15. Claimant is treated with less dignity and respect than similarly situated

employees.

            16. Claimant observes male counterparts advancing in pay and are using

techniques not permitted by Claimant.

            17. Claimant observed a multiple phone lines correctly pointed and tested undone

by another operator that skews metrics.

            18. Similarly situated white employees with less than favorable metrics are not

placed on a PIP within 90 days of hire.

            19. During Andrew Berry’s leadership, Claimant also observed recurring soft

credit checks made into Claimant’s financial institution, Freedom Credit Union. Every

Monday when Claimant arrives at her station, a review of financial transaction is performed

on Claimant by the supervisors of team leads. Claimant regularly uses her credit card in the

cafeteria of the Respondent’s location. Claimant contacts Freedom Credit Union

who then refers Claimant to the regional center in Virginia, who then confirms with Claimant

by stating, ‘Get an Attorney.’

            20. During Andrew Berry’s leadership, Claimant would use personal paid time
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off take a short drive to designated area approximately 10 minutes away. Claimant would

observe Respondent’s employees tracking Claimant’s location to disclose.

           21. Claimant’s phone calls are being used as tools for instructions on various

training classes by various training team supervisor to train the newly hired.

           22. Claimant applies to Respondent’s positions online and is barred from career

advancement despite holding dual Bachelor Degrees.

           23. Claimant complains to Earleen Bethel of Comcast Listen to investigate

nuances of the metrics, what was happening under Team Lead Andrew Berry about a host of

issues listed and over-reach of power.

           24. On or around December Claimant is alerted her Freedom Credit Union

account is closed because a purchase was made for T.V. and internet for several hundreds

dollars. The charge was deemed fraudulent.

           25. On the pretext of “poor performance, Claimant was discharged from

employment on or around January 4, 2016 with police escort. Claimant’s arm was forcibly

pulled by a manager and her handbag was rifled through by the same manager.




                                          COUNT I

                 CLAIMANT’S CLAIMS UNDER TITLE VII OF THE
                  CIVIL RIGHTS ACT OF 1944, AS AMENDED 1991,
                                   42 U.S.C. §2000 et seq.


           26. Allegations contained in paragraph 1 through 25 above are incorporated
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herein as it set forth in full.

            27. Claimant was subjected to a racially hostile and offensive working

environment comprised of unwelcome abuses and disparate treatment based upon her gender

and race.

            28. After reporting the illegal disparate treatment and harassment, nothing was

done to prevent further harassment and disparate treatment based on gender and race.

            29. Claimant was subjected to racially hostile and offensive working environment

comprised of disparate treatment in the form of failure to submit exception, compliance

approvals, privacy intrusions, and failure to remove Claimant from a PIP.

            30. Respondent’s conduct in unlawfully retaliating against Claimant for opposing

racial harassment and/ or disparate treatment was deliberate and violated Civil Rights Act of

1964, as amended 1991, and has caused Claimant to suffer economic harm, emotional

distress, anxiety, sleeplessness, loss of weight, and stress.

        WHEREFORE, Claimant demands judgment in her favor and against Respondent for

compensatory and punitive damages in an amount in excess of Two Hundred Thousand

Dollars (200.000); plus cost of this action; reimbursement of back pay, front pay, interest,

attorney fees, and such other legal and equitable relief as Jams may deem just, proper, and

appropriate in the circumstances of this case.
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                                           COUNT II

                    CLAIMANT’S CLAIMS UNDER TITLE VII OF THE
                     CIVIL RIGHTS ACT OF 1866, AS AMENDED 1991,
                                        42 U.S.C. § 1981



            31. Allegations contained in paragraph 1 through 25 above are incorporated herein

as if set forth in full.

            32. Section 1981 guarantees to all persons the right to make and enforce

contracts, including performance, modifications, and termination as well as enjoyment of all

benefits, privileges, terms, and conditions of thee contractual relationship.

            33. In May, 2014, Claimant entered into a written employment contract with

Respondents.

            34. Claimant relied on Respondent’s express and implied representation of good

faith and fair dealing in the employment relationship, in reasonable anticipation and belief

that she would be treated fairly and equitably and would enjoy the same opportunity for the

benefits, terms, and conditions of employment as other employees.

            35. The terms of the employment contract entered included but are not limited to

the following:

                 a. equal opportunity for raises as provided to other employees.
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               b. fair and equitable treatment on a daily basis by Respondent and its agents,
                   servants, and employees, without insults, intimidation or harassment.


               c. Lack of racial/gender bias against them on the part of management
                   employees and corporate officials.


           36. In good faith reliance upon Respondent’s promises as aforesaid, Claimant put

forth her best efforts and performed all jobs duties assigned to them in a satisfactory fashion

and fulfilled all her job duties and tasks.

           37. Despite Claimant’s best efforts, Respondent’s agents, servants, and employees

and management officials embarked on a course of racial humiliation, degradation, and

embarrassment intended to destroy Claimant’s self-esteem and self-confidence. Claimant

was denied similar terms, privileges, and conditions of the contractual employment

relationship as other employees.

           38. After Claimant complained to Human Resources about her unfair treatment,

Respondents failed to properly investigate and correct Respondent’s illegal conduct based

upon impermissible gender and race-based decision making.

           39. After opposing Claimant’s unlawful disparate treatment based upon gender

and race, Claimant was discharged from employment.

         WHEREFORE, Claimant demands judgment in her favor and against Respondent in

amount in excess of Two Hundred Thousand Dollars ($200,000) for compensatory

damages, punitive damages, pluse cost of suit, attorney fees, interest, and such other legal

and equitable relief as the JAMS may deem, just proper, and appropriate in the circumstances
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of this case.




                                         COUNT III

                           CLAIMANT’S CLAIMS OSHA OF 1970,
                                    AS AMENDED 2013,
                                        29 U.S.C. § 654




            40. Allegations contained in paragraph 1 through 25 above are incorporated

herein as it set forth in full.

            41. The Occupational Safety and Health Administration defines "workplace

violence" as "violence or the threat of violence against persons or property," and includes

assault, bullying, intimidation, domestic violence, stalking, sexual harassment, hate crimes,

physical abuse, emotional abuse, or other conduct that jeopardizes an employee's personal

safety. With recent developments in technology, workplace violence has expanded to

include cyber-bullying, cyber-stalking, and other forms of on-line harassment.

            42. Section 654 guarantees the workplace is free from hazards that would

jeopardizes someone’s physical and emotional well-being.

            43. Claimant is experiencing stalking on and off the job. The Respondent does not

make any move to ensure the safety of personnel information or the physical safety of the

Claimant.

            44. There was no circumstance necessary for the Claimant to receive acts of
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violence on her last day of work or any workplace hazards aforesaid.

            45. The Respondent and all its servants, agents, agency, employees has failed to

keep the workplace free from hazards that would jeopardizes Claimant’s physical and

emotional well-being.

                                         COUNT IV

                  CLAIMANT’S CLAIMS UNDER THE PENNSYLVANIA
                     HUMAN RELATION ACT, AS AMENDED 1991
                         43 PA.CONS.STAT.ANN. §951, ET SEQ.

            46. Allegation contained in paragraph 1 through 45 above are incorporated as if

set forth in full.

            47. Pennsylvania Human Relations Act, 43 P.S. §951 et seq., prohibits race

discrimination in the form of disparate treatment.

            48. The egregious nature of Respondent’s conduct entitles Claimant to additional

damages under Pennsylvania law.

            49. 43 P.S. §955(d) makes it unlawful for any person or employee to discriminate

in any manner against any individual because such individual has opposed any practice

forbidden by the PHRA, or because such individual has made a charge under the PHRA.

            50. Respondent discharged Claimant due to Claimant’s opposing unlawful

discrimination.

                WHEREFORE, Claimant demands judgment in her favor and against

Respondent in amount in excess of Two Hundred Thousand Dollars (200,000) for back-pay,
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compensatory damages, plus costs of this action, interest, attorney fees, and such other legal

and equitable relief as this JAMS may deem just, proper, and appropriate under the

circumstances of this case.




                                          COUNT V

        CLAIMANT’S CLAIM UNDER PENNSYLVANIA’S WAGE PAYMENT
                                   COLLECTION LAW
                                    43.P.S.§ 260.1 et seq.

            51. Allegations contained within paragraph 1 through 50 above are incorporated

herein as if set forth in full.

            52. Under section 260.3, overtime wages are wages earned and should have been

paid in the next succeeding pay period.

            53. 43 P.S. §260.5 states whenever an employer separates an employee from the

payroll, the wages, or compensation earned shall become due and payable not later than the

next regular payday of the employer.

            54. In violation of section 260.5 all wages due and owing should have been paid

not later than the next regular payday of Respondent. To date, Respondent has failed to pay

Claimant her due and owing overtime wage payments.

            55. Despite being a salaried manager as of May 12.2014, Claimant’s job duties do

not qualify as an Administrative, Executive or Professional exemption under the Federal

Labor Standard Act.
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       WHEREFORE, Claimant demands judgment in her favor and against Respondent in

an amount in excess of $200,000 for liquidated damages, attorney fees, costs, and such other

legal and equitable relief as JAMS may deem proper and appropriate in the circumstances of

this case.




                                                                      Respectfully submitted,




Date: February 23, 2021                                         Frances Jean-Louis
                                                         Frances e Jean-Louis
                                                         PRO SE
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                                       JAMS ARBITRATION

     Frances Jean-Louis

                    Claimant,

             v.

     Comcast Cable Communication                   JAMS Reference No. 1450005578
     Management LLC,

                    Respondent



                                             ORDER

AND NOW, this              day of                                  2021, upon consideration of

Claimant’s petition to move arbitration to court trial pursuant 28 U.S.C. §1291, citing the
Respondent waived its right to arbitrate by its failure to pay. It is requested all evidence be
preserved including sworn testimonies and that any statute of limitation be stayed until the
outcome of court proceedings. It is hereby

                                    ordered and decreed

that the petition to move to court proceedings without prejudice against the Claimant..




                                                 BY:


                                                           ___________
                                                                                      Jerry P. Roscoe
                                                                                            Arbitrator
          Case 2:21-cv-03753-JS Document 1 Filed 08/17/21 Page 26 of 34



                                         PROOF OF SERVICE

        I hereby certify that a true and correct copy of the order was served upon all counsel of record on

this date by electronic mail on May 27, 2021 addressed as follows:


                                   Sara E. Hoffman Ivill
                                 Buchanan Ingersoll & Rooney PC
                                         Associate
                                      Two Liberty Place
                                      50 S. 16th Street, Suite 3200
                                      Philadelphia, PA 19102-2555
                                      215 665 3672 (o)
                                      sara.hoffman@bipc.com

                                   Charlene A. Barker Gedeus Esq.
                                 Buchanan Ingersoll & Rooney PC
                                      Two Liberty Place
                                      50 S. 16th Street, Suite 3200
                                      Philadelphia, PA 19102-2555
                                      215 665 3672 (o)
                                      Charlene.gedeus@bipc.com




                                                         BY:      Frances Jean-Louis
                                                                 Frances e Jean-Louis
                                                                 PRO SE
         Case 2:21-cv-03753-JS Document 1 Filed 08/17/21 Page 27 of 34




                                 JAMS ARBITRATION

     Frances Jean-Louis

                 Claimant,

            v.

     Comcast Cable Communication            JAMS Reference No. 1450005578
     Management LLC,

                  Respondent



                          Claimant Motion for Future Trial

It is requested since the Respondent has waived its own arbitration clause by
failure to pay arbitration fees, a future trial be granted without prejudice against the
Claimant. We ask the arbitrator cite any tolling and statute of limitation be stayed
until a new civil trial be granted.
In Cien v. Barna (2012)206 Cal. App. 4th 1383, a failure of nonpayment waived
the right to arbitrate. We humbly request that this consideration is given ahead of
any decisions that would prevent the matter being looked at because of lack of
jurisdiction.

                                          BY:


                                                  ___________
                                                                          Jerry P. Roscoe
                                                                                Arbitrator
          Case 2:21-cv-03753-JS Document 1 Filed 08/17/21 Page 28 of 34



                                        PROOF OF SERVICE

        I hereby certify that a true and correct copy of documents requests were served upon all counsel

of record on this date by electronic mail on May 25, 2021 addressed as follows:


                                   Sara E. Hoffman Ivill
                                 Buchanan Ingersoll & Rooney PC
                                        Associate
                                     Two Liberty Place
                                     50 S. 16th Street, Suite 3200
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                                                         BY:      Frances Jean-Louis
                                                                 Frances e Jean-Louis
                                                                 PRO SE
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                         Request for Appeal Panel Review To Overturn Award



         A request to overturn an arbitrator’s final award is being requested in part due to inherent
bias toward the respondent’s in handling arbitration breech throughout the arbitration. This case was
to be presented in Judicial District Court when the Respondent’s legal team apprised the Court of the
arbitration waiver the Claimant signed on date of hire. Every new hire was bound to this arbitration
clause. On February 5, 2021, Jams sent Comcast an invoice ahead of scheduled preliminary hearing
with instructions that this invoice amount had to be paid before proceeding into the hearing. On the
day of the hearing on April 26, 2021, after closing arguments the arbitrator, Jerry P. Roscoe, said two
crucial statements, one, the Claimant had failed to prove its claim and secondly, reminded the legal
team of the Respondent to make a payment.

        A month after, May 25, 2021, Jerry P. Roscoe, alerted the parties that a decision was ready
with a transcript, but the decision could not be released until the final invoice had been paid. The
same day the Claimant, sent a Motion to move this arbitration to District Court citing, In Cien v. Barna
(2012)206 Cal. App. 4th 1383, a failure of nonpayment waived the right to arbitrate. “We humbly
request that this consideration is given ahead of any decisions that would prevent the matter being
looked at because of lack of jurisdiction” A week later, a Petition and Motion was sent to all parties
requested to move the hearing to District Court and that all evidence be preserved without
prejudiced.

        A full three weeks went by before a payment was received into Jams and a final award was
given to the Respondent. We are humbly requesting that Jams Appeal Panel overturn the final award
and recognize the arbitration breech through the two Motions and Petition filed into Jams with proof
of service to the other parties. Jerry P. Roscoe handled himself with integrity throughout this hearing,
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but the Respondent and its legal team did not. Jerry P. Roscoe had a duty to eliminate any inherent
bias by not allowing the Respondent to proceed without payment. Jerry P. Roscoe should have
acknowledged the petition and motion and move this case to District Court to avoid any bias. Since, it
was the Respondent’s iron clad arbitration clause that facilitated Jams proceedings. This case would
have been finalized years ago in a District Court before the pandemic.



Respectfully submitted this 29th day of June 2021,



Frances Jean-Louis


Frances Jean-Louis
PRO SE
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